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                     UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF CONNECTICUT
___________________________________
                                    )
In re                               )        Chapter 7, Case No. 13-51829-JAM
                                    )
TRANSWITCH CORPORATION              )
                                    )
                        Debtor      )
___________________________________ )


   ORDER ON TRUSTEE’S MOTION FOR ORDER APPROVING THE SALE OF
CERTAIN ASSETS OF THE DEBTOR’S ESTATE (REMNANT ASSETS), SUBJECT TO
  HIGHER OFFERS, FREE AND CLEAR OF LIENS, CLAIMS, INTERESTS AND
ENCUMBRANCES PURSUANT TO 11 U.S.C. §363, APPROVING BREAK UP FEE TO
    INITIAL BUYER IN EVENT OF HIGHER OFFER, AND RELATED RELIEF


         Upon the Motion of George I. Roumeliotis, Trustee in the above-captioned case
(“Trustee”), for Order Approving the Sale of Certain Assets of the Debtor’s Estate, Subject to
Higher Offers, Free and Clear of Liens, Claims, Interests and Encumbrances Pursuant to 11
U.S.C. Section 363, Approving Break-Up Fee to Initial Buyer in Event of Higher Offer, and
Related Relief (“Motion”), for cause shown, and after hearing held on September 13, 2022, it is
hereby


         ORDERED: The Motion is granted and the Remnant Assets will be sold free and clear of
liens and encumbrances pursuant to 11 U.S.C. §363(f); and it is further


         ORDERED: The form of Notice of Proposed Public Sale of Estate Property as set forth
on the attached Exhibit “A” (“Notice”), along with a copy of this Order, shall be served as set
forth in Paragraph 33 of the Motion no later than 3 business days after the entry on the docket of
this Order, and in said Notice, the Trustee shall indicate that the deadline to submit higher offers
or to file objections to the proposed sale is October 20, 2022, at 4:00 p.m. Eastern Time, that any
auction of the Property will be held on October 25, 2022, at 1:00 p.m., with the hearing to
approve the winning bidder as the purchaser to also be held on October 25, 2022 at 1:00 p.m.;
and it is further
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          ORDERED: In the event of a Competing Bid as described in the Motion (which shall be
accompanied with, among the items stated in the Notice, an Asset Purchase Agreement
containing substantially the same terms and conditions as contained in the Purchase Agreement
described in the Motion), the Court shall conduct an auction in open court on October 25, 2022
at 1:00 p.m. (“Sale Hearing”) at which the Buyer (described herein) and any party submitting a
Competing Bid may participate; and it is further


          ORDERED: In the event of a Sale Hearing, the Court shall conduct an auction at which
bids shall be taken by a single round of sealed bids submitted by the Buyer and any party
submitting a Competing Bid to determine the buyer, as well as the second highest bidder in the
event the highest bidder defaults; and it is further


          ORDERED: In the event Partnership Liquidity Investors V, LLC (“PLI”) is not the
highest bidder, and is not otherwise in default of the Purchase Agreement described in the
Motion, then upon the closing on the sale of the Property to a party that submitted a higher offer
than PLI’s offer, the Trustee shall pay a break-up fee to PLI in the amount of $3,000.00; and it is
further


          ORDERED: In the event no Competing Bid as described in the Motion or timely filed
objection to the Motion is made, then at the Sale Hearing, the Court shall enter a further Order
authorizing the sale of the Property (as described herein) to PLI pursuant to the terms of the
Motion, which further Order shall include the following provisions:


                  ORDERED: The Trustee is authorized to sell to Partnership Liquidity Investors
          V, LLC, having a principal office at 1511 Kings Road, Newport Beach, CA 92663, the
          bankruptcy estate’s interest in the Remnant Assets as described in the Motion
          (“Property”), in accordance with the terms and conditions contained in the Motion; and it
          is further

                ORDERED: The sale authorized herein shall be free and clear of all liens and
          encumbrances pursuant to 11 U.S.C. §363(f); and it is further




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             ORDERED: The Trustee is hereby authorized to prepare, execute and deliver any
     and all documents and to perform any and all acts necessary to sell the Property as
     authorized herein, whether such documents are known and executed at closing, or
     become known and necessary in the future; and it is further

           ORDERED: The 14 day stay contained in Fed. R. Bankr. P. 6004(h) is hereby
     waived, so that the Trustee shall be authorized to close on the sale of the Property
     immediately upon the entry of this Order.

             Dated at Bridgeport, Connecticut this 19th day of September, 2022.




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                                                        UNITED STATES BANKRUPTCY COURT
                                                            DISTRICT OF CONNECTICUT

          In re:
           Transwitch Corporation                                              CASE NO: 13-51829

                                                                               CHAPTER: 7

                                                                Debtor(s).
          Attorney or Party Name, Address, Telephone & FAX
          Nos., State Bar No. & Email Address:
          George I. Roumeliotis, ct17532, Roumeliotis Law Group, P.C.
                                                                                      NOTICE OF ORDER GRANTING MOTION FOR
          157 Church Street, 19th Floor, New Haven, CT 06510
          Tel. 203-580-3355, Fax 888-851-4304
                                                                                         PUBLIC SALE OF ESTATE PROPERTY
          george@roumeliotislaw.com
                                                                                                 D. CONN. BANKR. L. R. 6004-1(b)
              Attorney for: Chapter 7 Trustee

              Individual appearing without attorney
                                   INSTRUCTIONS FOR COMPLETING AND FILING THIS NOTICE
               1. This Notice shall be completed in accordance with Fed. R. Bankr. P. 6004(c) and (f) and D. Conn. Bankr. L. R.
                  6004-1(b).
               2. This Notice shall be completed and filed only after a hearing on a Motion to Sell Estate Property, Motion to Sell
                  Estate Property Free and Clear of Liens, and/or Motion to Approve Procedures to Sell Estate Property is held by
                  the Court.

           Description of property to be sold:
          Remnant Assets of the Debtor's bankruptcy estate consisting of known or unknown assets or claims, which have not been
          previously sold, assigned or transferred, but specifically excluding (a) cash held as of April 28, 2022 in the Seller's fiduciary
          bank account for the Debtor's case; provided, however, that any cash that exists in such bank account one year from the date of
          the closing of the Debtor's case shall be Remnant Assets; and (b) the purchase price to be paid by the buyer. These might
          include unscheduled refunds, deposits, judgments, or other rights, as well as sale related royalties and dividend or other rights
          from the Debtor's private equity investments in Neurone Ventures II, LP and Munich Ventures Partners Fund, which are more
          fully described in the Motion to Sell filed on August 9, 2022, a copy of which can be found on MarketAssetsForSale.com, or
          which can be requested from the undersigned Trustee. Also, see terms and conditions and overbid procedure below.

           Public Sale/Auction Information:

          Date of Public Sale/Auction: October 25, 2022                       Time of Public Sale/Auction: 1:00 p.m.
          Location of
          Public            U.S. Bankruptcy Court, 915 Lafayette Boulevard, Bridgeport, Connecticut (in person or remotely)
          Sale/Auction:
          NOTE: The Public Sale/Auction may be conducted telephonically, remotely using ZoomGov, and/or by other remote technology platform or medium.



                                           Objection/Overbid Deadline and Hearing Information:
                                       Last date to file Objections or to submit
                                       Overbids to Public Sale/Auction:          October 20, 2022


                                       Hearing Date and Time regarding        October 25, 2022      at   1:00 p.m.
                                       Public Sale/Auction:

                                                                  U.S. Bankruptcy Court
                                       Location of hearing:       915 Lafayette BLVD, 1st Floor
                                                                  Bridgeport, CT 06604


                          Pursuant to D. Conn. Bankr. L.R. 6004-1(b), this form is mandatory. It has been approved for use in the
            United States Bankruptcy Court for the District of Connecticut and will be posted by the Clerk on the Court's website for publication.

                                                                                                                          Connecticut Local Form: CTB-LF238.B2
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      Public Sale/Auction opening bid: $44,000.00

      Terms and conditions of Public Sale/Auction, including whether the proposed sale/auction is to be free and clear of liens pursuant to 11 U.S.C.
      §363(f), and including information about how to register as a bidder:
      Partnership Liquidity Investors V, LLC ("PLI"), has offered to purchase the Remnant Assets for $40,000, subject to any higher offers
      submitted in accordance with bidding procedures set forth herein, and subject to the terms of an Asset Purchase Agreement attached as Exhibit
      "A" to the Motion to Sell filed on August 9, 2022, a copy of which can be found on MarketAssetsForSale.com, or which can be requested by
      contacting the undersigned. The sale of the Remnant Assets shall be free and clear of any and all liens, claims, interests and encumbrances,
      with such liens, claims, interests and encumbrances to attach to the proceeds with the same force, effect, and priority as such liens, claims,
      interests and encumbrances have on said property. The Trustee, however, is not aware of any such liens, claims, interests or encumbrances.

      In the event a party other than PLI wishes to purchase the Remnant Assets, such party should submit to the Trustee (contact information is
      noted below) a competing bid in the amount of at least $44,000, providing a deposit of at least $4,000, and otherwise complying with the
      bidding procedures described below. In the event of the submission of a Competing Bid, the Court will conduct an auction as described below
      to determine who the successful buyer shall be. In order to obtain financial information about the bankruptcy estate's collection activities to
      determine whether to make a competing bid, parties will need to sign and deliver to the Trustee a nondisclosure agreement, the form of which
      can be found on the MarketAssetsForSale.com listing for the Remnant Assets or by contacting the Trustee.




      Public Sale/Auction overbid procedure, including bid increments (if any):
          (1) A “Competing Bid” is (i) a bid of at least $44,000 received by the Trustee on or before 4:00pm Eastern Time on the overbid deadline noted
          above (“Bid Deadline”); and (ii) that offers to purchase the Remnant Assets on the same terms as PLI (except for purchase price), which
          includes providing a deposit of at least $4,000, and that otherwise qualifies as a Competing Bidder.
          (2) A“Competing Bidder” is a party that submits to the Trustee (i) a Competing Bid, a signed Asset Purchase Agreement, and a deposit of at
          least $4,000, and (ii) a “no collusion” statement in accordance with Local Rule 6004-2(e). A blank form of an Asset Purchase Agreement and a
          no collusion statement can be downloaded from the MarketAssetsForSale.com website listing for the Remnant Assets or can be requested from
          the Trustee.
          (3) If the Trustee receives a Competing Bid from a Competing Bidder, then an auction of the Remnant Assets will be held in Court at the date
          and time noted above, in which PLI and Competing Bidders will be able to participate in person or by Zoom or other remote platform as may
          be used by the Court, and at which the Court will accept one round of sealed bids to determine the highest bidder.
          (4) A hearing to approve the winning bidder as the purchaser of the Remnant Assets will also be held on the date and time noted above.
          (5) If the winning bidder does not consummate the sale transaction in accordance with the terms of the winning purchase and sale agreement,
          the Trustee is authorized to accept the next highest bid from a Competing Bidder as the back-up bid.




      Contact person for potential bidders or potential higher offers (include name, address, telephone, fax and/or email address):
      George I. Roumeliotis, Chapter 7 Trustee
      Roumeliotis Law Group, P.C.
      157 Church Street, 19th Floor
      New Haven, CT 06510
      Tel.: (203) 580-3355
      Fax: (888) 851-4304
      george@roumeliotislaw.com


      Date: September 19, 2022




                           Pursuant to D. Conn. Bankr. L.R. 6004-1(b), this form is mandatory. It has been approved for use in the
             United States Bankruptcy Court for the District of Connecticut and will be posted by the Clerk on the Court's website for publication.


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                                                   PROOF OF SERVICE OF DOCUMENT


    I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:




    A true and correct copy of the foregoing document entitled: NOTICE OF ORDER GRANTING MOTION FOR PUBLIC SALE/
    AUCTION OF ESTATE PROPERTY was served on (date)                               in the manner stated below:
    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to this Court's Administrative
    Procedures for Electronic Case Filing (Appendix A), the foregoing document will be served by the court via NEF and hyperlink to the
    document. On (date)                         , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
    that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                                      Service information continued on attached page

    2. SERVED BY UNITED STATES MAIL:
    On (date)                      , I served the following persons and/or entities at the last known addresses in this bankruptcy case or adversary
    proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed
    as follows:




                                                                                                      Service information continued on attached page

    3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
    person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                         , I served the following persons and/
    or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile
    transmission and/or email as follows:




                                                                                                      Service information continued on attached page


    I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.




            Date                             Printed Name                                                  Signature

                         Pursuant to D. Conn. Bankr. L.R. 6004-1(b), this form is mandatory. It has been approved for use in the
           United States Bankruptcy Court for the District of Connecticut and will be posted by the Clerk on the Court's website for publication.

                                                                            Page 3                                       Connecticut Local Form: CTB-LF238.B2
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